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                     UNITED STATES DISTRICT COURT                         1                  PROCEEDINGS
                     SOUTHERN DISTRICT OF FLORIDA                         2

                     CASE NO.: 13-CV-23429-Ungaro
                                                                          3      Deposition taken before Michele Cameron, Notary
                                                                          4   Public in and for the State of Florida at Large, in
          MITCHELL ROSARIO,                                               5   the above cause.
                                                                          6
                  Plaintiff,
          vs.                                                             7   Thereupon,
                                                                          8                  (CESAR ALTIERI SAYOC)
          12425, INC., a Florida for-profit corporation                   9   having been first duly sworn or affirmed, was examined and
          d/b/a STIR CRAZY, LAURA INSUA, MANUEL INSUA,
                                                                      10      testified as follows:
          and HERIBERTO FLOREZ,
                                                                      11                 THE WITNESS: A hundred percent, to the
                  Defendants.                                        12             best of my knowledge.
                                                                     13                    MR. MCDONALD: Okay. Just before we
                    DEPOSITION OF CESAR ALTIERI SAYOC
                                                                     14             start, I meant to tell you this yesterday,
                         VOLUME I
                        PAGES 1 - 105                                15             because I did tell you the other day on the
                                                                     16             phone --
                        Tuesday, April 8,2014                        17                    MR. BOBER: Did you want this on the
                        2:10 p.m. - 5:49 p.m.
                                                                     18             record?
                                                                     19                    MR. MCDONALD: I do. I do.
                        Bober & Bober, P.A.                          20                    MR. BOBER: Okay.
                        1930 Tyler Street                            21                    MR. MCDONALD: I have - and I had
                       Hollywood, Florida 33020
                                                                     22             yesterday, I have the payroll records for the
                                                                     23             company for the last five years. They're in
                                                                     24             their original format, they're in notebooks;
                                                                     25             they're big, heavy notebooks. You're welcome

                                                            Page 2                                                                  Page 4
      1   APPEARANCES:                                                1             to look at it tomorrow, whenever, but it's
      2   On behalf of the Plaintiff:                                 2             available to be seen in its format. If you
      3      PETER J. BOBER, ESQUIRE
                                                                      3             want it copied, you just tell me where to
            BOBER & BOBER, P.A.
      4      1930 Tyler Street                                        4             send it. One of the things you had requested
            Hollywood, Florida 33020                                  5             that we didn't originally -
      5     Phone: (954) 922-2298                                     6                    MR. BOBER: Why are we putting this on
      6
                                                                      7             the record?
      7   On behalf of the Defendants:
      8     DAVID M. MCDONALD, ESQUIRE                                8                    MR. MCDONALD: Because it's part of my
            MCLUSKEY & MCDONALD, P.A.                                 9             response to Request to Produce that I want to
      9     8821 Southwest 69th Court
                                                                     10             make sure that it's on the record, that's
            Miami, Florida 33156
     10     Phone: (305) 662-6160                                    11             all.
     11                                                              12                    MR. BOBER: It's at your office now?
     12   ALSO PRESENT:
                                                                     13                    MR. MCDONALD: It is.
     13
                Mitchell Rosario                                     14                    MR. BOBER: Was it at your office
     14                                                              15             yesterday?
     15                IN D EX                                       16                    MR. MCDONALD: It was. Remember I told
     16   WITNESS                      PAGE
     17   CESAR ALTIERI SAYOC
                                                                     17             you last week. I said, "Hey, I have all this
     18              DIRECT EXAMINATION     4                        18             when you come."
                     REDIRECT EXAMINATION     226                    19                    MR. BOBER: All right. Well, I will
     19              BY: MR. BOBER
                                                                     20             look at it tomorrow.
     20              CROSS-EXAMINATION      108
                     BY: MR. MCDONALD                                21                    MR. MCDONALD: But I didn't formally
     21                                                              22            write to you; so it's there.
     22               EXHIBITS                                       23                MR. BOBER : Okay.
     23   DEFENDANT'S
     24   No. 1 Stir Crazy Application                233            24                MR. MCDONALD: I just want to remind you
     25                                                              25            again .
                                      --          -
                                                        United Reporting, Inc.
                                                           (954) 525-2221                      EXHIBIT 2
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                                                                                                   2 (Pages 5 to 8)
                                                         Page 5                                                          Page 7
      1            MR. BOBER: No problem.                           1    the gentleman In the jacket next to you object. If he
      2                DIRECT EXAMINATION                           2    hears a question that he thinks there's a problem
      3   BY MR. BOBER:                                             3    with, he will object. It's just so that she can put
      4         Q Can you state your name and address for           4    it on the record; you will still answer the
      5   the record, please.                                       5    question-
      6         A Cesar A. Sayoc. Ceasar Altieri Sayoe.             6           A A hundred percent.
      7           Address is 18151 Northeast 31 st Court,           7          Q - even after you hear that, okay.
      8   Apartment 2016.                                           8             Is there any reason today that you would
      9         Q City?                                             9    not be able to testify truthfully or competently?
     10         A Aventura, Florida, 33160.                        10           A I'm going to give you the best of my
     11         Q So Altieri Is not your last name?                11    knowledge of what went on at Stir Crazy when I was
     12         A Yeah, Sayoc -- Altieri Sayoc. It's my            12    there, my time there.
     13   middle and last name. S-A-Y-O-C is the last.             13          Q Okay. Can you tell me whether or not             II
     14         Q 5-A?                                             14   you ever worked at Stir Crazy?
     15         A Y-O-C.                                           15        A Not before, just the time that I was
     16         Q V-o-C, okay.                                     16   there.
     17            Have you ever given a deposition before?        17        Q     Yes. You have worked at Stir Crazy,
     18         A I don't think. No, sir, I have haven't.          18   correct?
     19        Q Okay. Let me tell you a little about              19        A Yes, I have.
     20   what we're going to do today. I'm going to ask you a     20        Q Okay. Can you tell me when you worked
     21   series of questions. The Court Reporter here is going    21   there?
     22   to write everything down. She can only write down one    22        A Oh, gosh, I have to go back io the
     23   person talking at a time; so even If you know what I'm   23   records. U's towards last year.
     24   going to ask or you can anticipate what I'm going to     24        Q You left In 2013?
     25   ask-                                                     25         A    Yeah.

                                                         Page 6                                                         Page 8
      1        A Yeah.                                              1         Q      Okay.
      2        Q -- Just wait until I actually finish               2         A Well, beginning .- It was -- Oh, 9OSh, I
      3   saying It before you actually start -                     3   have to .- Excuse me one second -
      4        A Yeah.                                              4         Q Sure.
      5        Q .- to answer so that she can write It              5         fi... -- and I will tell you. I go off it
      6   all down.                                                 6   because -- I'm sorry, you know. Hang on one second
      7         A Yeah, a hundred percent. I'll give it             7   here.
      8   the best of my knowledge.                                 8               I think it was January -- It was right
      9         Q Okay, sure.                                       9   after Christmas, the 22nd, I think, because that's
     10            If at any time I ask you a question that        10   when I got the tennis thing, something, that was like
     11   you don't understand or it's vague or ambiguous, feel    11   the day after I had -
     12   free to ask me to repeat the questIon -                  12         Q Let me do It this way. When WJ!S
     13         A A hundred percent.                               13   approximately your first day of employment 0 wOlk?
     14         Q - and I'll be happy to do that.                  14         A I think It was Mayor June. I have it
     15            If at any time today you need to take a         15   in my records --
     16   break, you have to get a glass of water, you want to     16        Q Okay.
     17   go to the bathroom, no problem, we'll take a break.      17        A -- because of the unemployment that I
     18         A Okay.                                            18   had collected.
     19         Q Unless you ask me to repeat a question           19        Q About Mayor June of what year?
     20   or rephrase a question, I will assume that you           20        A Of 2012.
     21   understood the question that I was asking -              21        Q Okay. And you stopped worJdng at Stir
     22         A Yes.                                             22   Crazy in December of 2013?
     23         Q -okay?                                           23         A Janua 22nd, I think it was. That!s
     24         A Okay.                                            24   what it says, because she came - that is the day after
     25         Q Sometime today you will probably hear            25   she text me this message.


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      1            Q      Who is "she"?                                     1            A     Yes, sir.
      2             A     One of the bartenders.                            2            o     Okay.
      3            Q Okay.                                                  3            A     Tuesday through Saturday.
      4            A lliana                                                 4           Q      Okay. And as a night manager, can you
      5            Q      lliana, okay.                                     5    tell me - Well, let me strike t hat.
      6            A      Yeah.                                             6             Old all the night managers have the same
      7            Q      What year of J an uary?                           7    duties?
      8            A      2013.                                             8            A     Everybody had the same, you know, same
      9            Q      Okay. So you worked there a little over           9    thing, pretty much, except the general manger,
     10    six months?                                                     10    Heriberto daytime.
     11            A      Yeah.                                            11           o     Okay.
     12            Q      Okay.                                            12            A     Ricky was at nighttime.
     l3            A      I'm pretty sure.                                 13           Q     So--
     14            Q      But does that sound about right ,                14            A     No, Ricky was daytime, I'm sorry, and
     15    about --                                                        15    Rolando nighttime. Agusto was at nighttime.                      II
     16        A Yeah, let me go -- Joe Pesh -- Joe --                     16         Q Okay. So as a night manager, let's talk
     17    Let's see, because it was the next day, because h ~             17   about your duties. Can you tell me what your duties
     18    said , "Are you ready to come to training?"                     18   were as the night manager?
     19                  Here. Joe, manager, okay. I tried to              19           A     Open, meaning every register. Counting               I

     20   a-mail you, and it was return voice mail full , can you      I   20   of the liquor, it was called the Berg system that
     21    be at club 4:00 p.m. tomorrow to start training.                21   counts the liquor, count that on the opening of each
     22    August 14th, 2012 at 11 :26 a .m. he had teXi me that           22   bartender. You count out their draws in the beginning
     23   message.                                                         23   for their banks.
     24         Q        So August 15th, 2012 Is when you                  24         Q The draw is an amount of cash?                            II
     25   started?                                                         25           A     Cash they're going to start with at each            II
                                                               Page 10                                                                 Page 12
      1         A       Yes.                                                1   bank.
      2                 MR. MCDONALD: What was the date?                    2        Q       Okay.
      3                 MR. BOBER: August 15th, 2012.                       3           A    The music and overseeing basically                   I
      4                 THE WITNESS: I started training.                    4   everything to make sure the club ran smooth.
      5                 At 11 :26 he teXied me that message.                5                I report everything back to Heriberto,
      6   BY MR. BOBER:                                                     6   which would go back to the owner, Manny.
      7         Q        And then you worked from August 15th               7        Q Okay.
      8   of 2012--                                                         8           A    And they didn't like that, because
      9        A        To the 22nd of January.                             9   Agusto was nighttime and it was kind of like a bumping
     10        0        2013?                                              10   of heads because they felt I was stepping around
     11        A        Yeah. That's why I know the dates that             11   Agusto to tell Eddie everything that was going on at
     12   I was 1here.                                                     12   nighttime.
     13        Q        Okay. And can you tell me what your job            13        Q       Okay. So when you say - I'm going to
     14   was at Stir Crazy?                                               14   go through some of these duties that you just
     15        A        Night manager. At first they were going            15   mentioned.
     16   to bring me daytime, but then they liked me better, I            16               You mentioned opening the registers -
     17   got the crowd excited, I pumped up their numbers, I              17        A       Yes.
     18   did whatever I had to do, what I was told by                     18        Q       - counting the liquor, counting the
     19   Heriberto.                                                       19   cash that bartenders start with -
     20                Agusto, we had a little miscommunication            20        A Right.
     21   because of the language barrier and what the owner had           21        Q       - music and overseeing basically
     22   wanted, which was Manny.                                         22   everything else to make the club run smooth.
     23        0        Okay. Well, let me go part by part.                23        A       Staff, DJs, tell them what to play, how
     24             So your /06, trom August 15th, 2012 to                 24   the club - the rooms, the sales, the promotions and
     25   January 22nd, 2013 was night manager, correct?                   25   exactly what, you know, Eddie wanted and Manny wanted.


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                                                                  Pag e 13                                                            Page 15
        1          Q    Okay.                                                 1         a   Okay.
        2         A You know, I fell in the chain of                          2
                                                                              3
                                                                                        A    I don't know the man personal.
                                                                                         Q Okay.
                                                                                                                                                     !
        3    command.
        4         Q So let me ask you this question: When                     4          A I know from one of the broker real
        5    you say that one of the things that you did was the              5    estate agent, he is the owner and I was pointed out
        6    music, can you tell me what you mean by that?                    6    that he was the owner.
        7         A Well, we wanted to change the format.                     7         a   Okay. So you only met Manny personally
        8         Q Who is "we"?                                              8    twice?
        9         A The management and ownership. We sat                      9         A    Yeah.
     , 10    down together, we had our meetings all the time.                10         a   Okay.
      11     Eddie went back to the owner, with Manny, all the               11          A On the floor, when he came to the club a
    ( 12     ideas and consulted with him and told me exactly how            12    few times.
     13      we wanted it done, what mix to. do, what lineup to. de,         13         a   Okay. And when he was at the club, what
     14      the girls to do and then report the incidence of any            14    did you see him doing, H anything?
     15      incident at nighttime that happened -                           15          A He was sitting with another young
     16            Q Okay.                                                   16    gentleman that he came in with and overseeing on a
     17            A - and report it back to him.                            17    Friday, Saturday, pop in towards the end, there.
     18            Q So when you say that you were involved                  18         a  Okay.
     19     with the music -- Well, let me strike that.                      19         A I didn't see him much in the beginning        .
     20
     21
     22
                     You said that management and ownership
            decided to make changes in the music?
                  A Yeu knew, the format of the club,
                                                                             20
                                                                             21
                                                                             22
                                                                                   because he watches the cameras and whatever else and '",
                                                                                  he gives direction on what's being done right and
                                                                                  wrong, and thars when I get that back from Heriberto,
                                                                                                                                           I
     23     because -                                                        23   which is the second in command, I guess, in daytime,
     24         Q What is that? What is the format?                          24   and then Agusto and Rolando didn't like that because I
     25         A Format, basically you had a slower club,                   25   was going around them tellin!:! Eddie everything, but

                                                                  Page 14                                                         Page 16
       1    you had hip-hop more. We wanted to change it to a                 1    that's what Eddie wanted.
       2    Scarlett type format, a lot of energy.                            2          Q Okay.
       3          a    Ukeless-                                               3          A And once I stopped that, you know. yeu
       4          A Techno.                                                   4   know , they pulled me: Why are you going around,
       5          a    You mean less hip-hop?                                 5   Agusto is the nighttime manager. Ir s a real fight
       6          A A lot less hip-hop, because I told them                   6   there .
       7    that the reason why your club is going in the                     7         Q Okay.
       8    direction it is is because you're letting the girls               8         A And whatever the reasons are, whoever
      9     have control of the club.                                         9   has the power, whatever reasons that they've gene
     10           a    In other words, the girls -                           10   through in their history, I don't know. I just follow
     11           A Had a say of what he played --                           11   my directions, what I'm - follow my superiors and then
     12            Q Okay.                                                   12   I pass it on and if it's not done, Eddie takes care of
                                                                                                                                                I'
     13            A - how they want it, and if he didn't                    13   it or fi res the individual or whatever the
     14     play it, you would get fired .                                   14   Circumstances are or the outcome.
     15         Q Who did you tell that you need to make a                   15            Q Okay. Let me ask you this: What                    l\
     16     change In-                                                       16   involvement, if any, did Manny have with the--
     17
     18
                 A     Well, we said -- Management, because me
            and Agusto, the communication level was - the language
                                                                             17
                                                                             18
                                                                                        A   I knew he e-mailed them every day --
                                                                                          MR. MCDONALD: Objection to. the ferm.
                                                                                                                                           il )~
     19     barrier was very difficult. Rolando translated.                  19           T HE W ITNESS: I know he e-mailed
     20     Heriberto wanted to know everything and I report
                                                    J                        20       everything, the girl count. This is to my
     21     everything to Eddie.                                             21       knowledge.
     22          Q Okay. Did you discuss any of these                        22   BY MR. BOBER:
     23     format changes wtth Manny?                                       23       Q Okay.
     24          A Manny, I had met two times on the floor                   24       A And -
     25     passing.                                                         25           MR. MCDONALD: Sir, why don't you let


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      1               him ask the question before you answer.           1              MR. MCDONALD: - to Mr. Rosario
      2                    THE WITNESS: Oh, I apologize.                2          Interrupting the deposition and correcting a
      3                    MR. MCDONALD: It works better.               3         witness's testimony.
      4       BY MR. BOBER:                                             4              MR. BOBER: All right.
      5               Q Yes.                                            5              MA. MCDONALD: It's completely wrong,
      6                   What was Manny's involvement, if any,         6         inappropriate, way out of bounds, and if it's
      7       with respect to music, if you know?                       7         going to continue -
      8               A Music, all I knew is Mitch, Jeff and the        8             MR. BOBER: All right.
      9       DJs all had to e-mail Manny after every shift.            9             MR. MCDONALD: - I'm going to move to
     10               Q Okay.                                          10         discontinue the deposition.
     11               A Because I said, you know, here's the           11             MR. BOBER: All right. All right. No
     12       list, I will have to e-mail to Manny. That's how I       12         problem. He is not going to say anything
     13       knew, you know, it was going to Manny every night.       13         further.
     14               Q Old Manny ever e-mail you?                     14             MR. MCDONALD: Clearly this witness
     15               A No, Manny never fl-mailed me.                  15        doesn't know names --
     16               Q Okay. Did Manny ever text you?                 16             THE WITNESS : I do know the names --
     17               A No.                                            17             MR. BOBER: Look. Look--
     18               Q Okay.                                          18             THE WITNESS: -- I know who I work for,
     19               A Everything was Herlberto or Agusto or          19        sir.
     20       Rolando.                                                 20             MA. MCDONALD: He's obviously got a
     21               Q Old Eddie - When we say the name               21        format --
     22       "Eddie", that's Heriberto Florez?                        22             MR. BOBER: Don't-
     23               A Correct. I guess that's his last - you         23             MR. MCDONALD: -- that he's been told to
     24       know, Eddie, Heriberto. That's what I knew -- That's     24        follow.
     25       what everybody referred to him as, but I know he's the   25             THE WITNESS: No, sir -

                                                           Page 18                                                    Page 20
      1       one that hired me.                                        1         MR. BOBER: Don't pad --
      2                 And Joe Pesh came in for the owner and          2         THE WITNESS: - I know exactly --
      3       this is what the owner wants and if we don't get it       3         MA. BOBER: Don't pad the record.
      4       done --                                                   4         THE WITNESS: - what I went through and
      5              Q Who told you this is what the owner              5     I don't have to lie.
      6       wants?                                                    6         MA. BOBER: Don't pad the record.
      7              A Joe Pesh . Joe--                                 7         MR. MCDONALD: He's answering your
      8                 MR. ROSARIO: Joe Poi -                          8     questions without you asking.
      9                 MR. MCDONALD: Whoa, whoa. Wait a                9         MR. BOBER: You're making a speaking
     10              second, here. Wait a second.                      10     objection.
     11                 MR. BOBER: Hold on.                            11         MR. MCDONALD: It's--
    12                  MR. MCDONALD: I want to put on the             12         MR. BOBER: You 're making a speaking
    13               record that the Plaintiff, Mr. Rosario, is        13     objection.
    14               here and he's helping the witness answer          14         MA. MCDONALD: It's ridiculous.
    15               questions by giving him the names of the          15         THE WITNESS : I don't have to make this
    16               people that he needs. If he doesn't know the      16     up. I tell the truth --
    17               names properly, he needs to put that on the       17         MA. BOBER: Hold on . Hold on. Hold on.
    18               record --                                         18        THE WITNESS: -- to the best of my
    19                  THE WITNESS: I know the names, sir.            19    knowledge, sir.
    20                  MR. MCDONALD: Sir --                           20        MA. BOBER: Hold on.
    21                  THE WITNESS: I know who I work for.            21        THE WITNESS: I don't lie. I don't have
    22                  MR. MCDONALD: Sir, I'm putting it on           22    to lie.
    23              the record.                                        23        MR. BOBER: Mr. Altieri.
    24                  But I'm objecting to --                        24        THE WITNESS: Yes.
    25                  MR. BOBER: All right, I got it.                25        MA. BOBER: Hold on a second.
          -
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      1                 You have made your objection . He Is not        1          Q  Who told you?
      2              supposed to say anything. He Is going to           2          A  Heriberto.
      3              keep quiet. Let's move on, okay.                   3         Q Okay. Eddie said that it any change
      4       BY MR. BOBER:                                             4    needed to be made, Eddie had to approve it?
      5              Q Old anybody ever tell you while you were         5         A Yeah, he had to approve it.
      6       working at Stir Crazy that something had to be done       6         Q Okay. And one at the things included
      7       because that's the way Manny wanted it d one?             7    how the girls were dressed?
      8              A All the time I was told.                         8         A    Correct.
      9              Q Okay. Can you give me some -                     9         Q    And when you say, " the girls", you mean
     10                 MR. MCDONALD: Objection to the form.           10    t he dancers?
     11       BY MR. BOBER:                                            11          A I wanted to put dresses on them on
     12              Q Okay. Can you give me examples -                12    Fridays, upscale the class of the clu .
     13                 MR. MCDONALD: Move to strike.                  13          Q So you told Eddie that you wanted to
     14       BY MR. BOBER:                                            14    have the dancers dress differently?
     15              Q can you give me examples of when a              15          A Correct.
     16       person told you that Manny had told them that they       16          Q And Manny said in response to that,
     17       want something done a certain way?                       17    what? I'm sorry, Eddie said in response to that,
     18              A I was told by Heriberto that all the            18    what ?
     19       time. They wanted to fire Mitch one time because the     19           A I would have to take it back to, you
     20       dancer wanted one music and he is following fo rmat,     20    know, he would talk to the owner, Manny, and clear it.
     21       what I was told by Eddie, that Eddie told me, that the   21           Q Okay.
     22       owner, Manny, wanted.                                    22           A Same thing with the cell phones on the          I
     23              Q Okay. Eddie told you that Manny wanted          23    floor, same thing with the music that Mitch had
     24       to fire Mitch?                                           24    played. Everyth ing was a meeting or back to Eddie,
     25              A Heriberto said, "Do you have any new            25    that he had to clear everything with Manny.

                                                           Pag e 22                                                      Page 24
      1       DJ's? I'm going to fire Mitch."                           1         Q    Okay. So you also mentioned Eddie -
      2             Q Eddie said that?                                  2          A Yeah . The only thing I wasn't
      3             A Yes, sir.                                         3    involved in --
      4             Q Okay. And how, if at all, did Manny get           4          Q Hold on. Wait, wait.
      5       involved in that?                                         5             MR. MCDONALD: Objection to the form .
      6            A Well, Manny has all the decisions of               6             MR. BOBER : Wait.
      7
      8
      9
              everything, because Eddie goes back to Manny with
              every decision.
                       MR. MCDONALD: Objection to the form ,
                                                                        7
                                                                        8
                                                                        9
                                                                                      MR. MCDONALD: Nonresponsive to the
                                                                                   question because no question has been asked
                                                                                   before the witness is answering the question.
                                                                                                                                      i
     10              move to strike.                                   10             THE WITN ESS: I didn't answer that
     11       BY MR. BOBER:                                            11          question -
     12              Q Okay. You said that Eddie told you that         12   BY MR. BOBER:
     13        Manny wanted something done, correct?                   13          Q Hold on, hold on, hold on.
     l4              A To clear it with the owner on every             14             You haveto-
     15       decision, yes.                                           15          A Ifs a not a script. Ifs the truth.
     16              Q Okay. Can you give me some examples of          16          Q Hold on.
     17       what you're talking about?                               17             You have to-
     18              A Dresses on the girls.                           18         A I swear on my mother -
     19              Q Okay. With dresses on the girls ··              19            MR. MCDONALD: How do you know --
     20              A Yes.                                            20            MR. BOBER: Excuse me.
     21              Q •• can you tell me how that related to          21            MR. MCDONALD: The question hasn't been
     22       Manny?                                                   22         asked.
     23              A Well, like I said, anything that had to         23            MR. BOBER: Excuse me. Just hold on .
     24       be changed had to go through Manny. That's what I was    24            THE WITNESS: I was saying -                      I
     25       told, that's what I was instructed.                      25   BY MR. BOBER:
          -                                         -

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       1           Q     Hold on, Mr. Altieri. Just wait a                    1         Q - and then we:!1 talk about other
       2       minute.                                                        2    things.
       3            A    I was saying --                                      3            You're saying that Manny was involved -
       4           Q     Even if you think you know where I'm                 4    And when we say, "Manny", we're saying Manuellnsua?
       5       going-                                                         s         A Yes.
       6            A    You can laugh all you want, I'm telling              6         Q Okay,
       7       the truth --                                                   7           A   I didn't know him by that. I knew
       8             Q Holdon.                                                8    Manny.
       9             A - to the best of my knowledge.                         9        Q Okay.
      10             Q Hold on.                                              10           MR. MCDONALD: Objection to the form,
      11                Even if you think you know where I'm                 11        move to strike.
      12       going or what I'm going to ask, just walt until I             12           MR. BOBER: Okay.
      13       finish asking it.                                             13           MR. MCDONALD: The witness clearly just
      14            A Yes, sir.                                              14           says he doesn't even know the person's name
      15            Q I'm only asking you because the Court                  15           and he's agreeing -
      16       Reporter will go crazy.                                       16             THE WITNESS: No, I know Manny -
      17            A    Correct, a hundred percent.                         17               MR. MCDONALD: - with you as to
      18          Q Okay.                                                    18           his full name. Move to strike.
      19          A I've never been through this before; so                  19           MR. BOBER: Okay, great.
      20   this is ...                                                       20   BY MR. BOBER:
      21          Q No problem. No problem.                                  21       Q Did you know the owner of the club to be



  I   22
      23
      24
      25
                       Okay. So we've talked about dresses on
           the dancers. That was something that you wanted to
           implement that you spoke to Eddie about and Eddie told
           you that he would have to speak to Manny about it,

                                                                   Page 26
                                                                             22
                                                                             23
                                                                             24
                                                                             25
                                                                                  known as someone named Manny?
                                                                                          A Manny, yes, sir.
                                                                                          Q Okay,
                                                                                          A That's what he was referred to every

                                                                                                                                      Page 28
       1       correct?                                                       1   time.
       2            A Correct.                                                2       Q Okay. Now let's Just talk about the
       3            Q And did Eddie tell you that he would                    3   music, just the music.
       4       have to get approval for it?                                   4           You had a conversation at some point
       5            A    Yes.                                                 5   with Eddie about the kind of music being played?
       6            Q    Okay. From Manny?                                    6        A Yes, sir.
       7         A Correct.                                                   7        Q Okay. And were you relaying to Eddie
       8         Q Now, with respect to the music, can you                    8   your concerns about the kind of music being played?
       9   tell me what, if anything, Manny had to do with that?              9        A A hundred percent, because I --
      10         A The music -- Every decision I brought to                  10        Q Okay.
      11   Eddie had to be cleared through Manny.                            11        A Okay.
      12            MR. MCDONALD: Objection to the form,                     12        Q What did Eddie say to you in response to
      13        move to strike as nonresponsive.                             13   your concern?
      14   BY MR. BOBER:                                                     14        A I have to get approval. You know, it's
      15            Q    Are you talking about the music?                    15   a great idea, I have to go get the approval from the
      16            A    Everything .                                        16   owner, Manny.
      17            Q    Okay.                                               17        Q Okay, Old he say anything else about
      18            AThe music, anything with the girls.                     18   Manny and the music?
      19            The only thing I wasn't involved in was                  19        A No.
      20   with the girls, the sales of the rooms and all that.              20        Q Okay. What was it you were suggesting
      21         Q Okay.                                                     21   to Eddie about the music?
      22            A    That was the bartenders doing all that              22         A Well, I said a suggestion about the
      23   stuff.                                                            23   music, I wanted an energy crowd, and it worked. I
      24            Q    Well, let's Just talk about the music -             24   know it works, I've been dOing this for 35 years, I'm
      25            A    Yes, sir.                                           25   the best at this business.
           -             -                                                                                                        -
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                                                                                                8 (Pages 29 to 3 2 )
                                                      Page 29                                                            Page 3 1
      1         Q   Okay.                                          1          Q Oh. You mean the dancers, while they're
      2         A   There's nobody better.                         2    dancing, should not be on the cell phone?
      3         Q So you wanted to have Stir Crazy have            3          A They should be in a secluded area, not
      4   higher energy music?                                     4    in the front lobby on a cell phone, not on the floor
      5         A Yeah, to keep - I don't want - You               5    talking to a customer. Either pull off to the side -
      6   know, I wanted to -- Manny, everybody, to make more      6    I understand and respect it as you told me, cell
      7   money, increase the revenue of the club and I know it    7    phones are used to call their customers, but not on
      8   works because I've done it --                            8    the main floor.
      9         Q Okay.                                            9          Q Okay. So you made a suggestion to
     10         A - a hundred limes.                              10    Eddle-
     11         Q So you made the suggestion to Eddie?            11          A Yes, sir.
     12         A Yes, sir.                                       12          Q - that going forward, the dancers
     13         Q And Eddie told you that he would speak          13    should not be making cell phone calls on the floor?
     14   to Manny about it?                                      14           A Correct.
     15         A Correct.                                        15          Q And In response to that, what did eddIe
     16         Q And what, if anything, did Eddie tell           16    tell you, if anything?
     17   you that he was going to try to get from Manny?         17           A Well, we have to go back to the owner,
     18         A He would bring every idea I brought to          18    Manny, with it.
     19   Heriberto and clear with Eddie his response. I          19               Okay.
     20   respected him. He said, "Yes," yes. If it was no --     20           A And one time I had put up signs. He
     21         Q You said clear It with Eddie or clear it        21    said, "We don't want them," meaning the girls, "to
     22   with-                                                   22    look like we're unprofessional. I have to have them
     23         A Clear it with Manny. Eddie, I went back         23    done up correctly," and any idea, it took a long time
     24   with everything, but he had to clear everything with    24    to get the idea passed.
     25   Manny, the owner.                                       25          Q Okay. So we talked about how the

                                                     Page 30                                                            Page 32
      1           Q And do you know that because you're            1   dancers were d ressed.
      2    guessing that or because -                              2         A Correct.
      3           A No --                                          3        Q We talked about the music, we talked
      4           Q - Eddie told you this?                         4   about cell phones on the dance floors.
      5           A - Eddie told me this.                          5            Were there any other Issues that you
      6          Q Okay.                                           6   brought to Eddie's attentIon that he told you he would
      7           A I don't guess, I don't have to make up         7   have to get approval from Manny about?
      8    anything. I tell you exactly word for word what was     8        A Billboard.
      9    told to me.                                             9        Q Billboard?
     10          Q Has anybody, prior to your deposition          10        A On the outsIde, I wanted to put the
     11    today, told you what to say here today?                11   advertising on the billboard.
     12           A No, sir--                                     12        Q    Okay.
     13          Q Okay.                                          13        A I needed cards to go through CocoWalk,
     14           A -- not at all.                                14   Coral Gables, for promotion.
     15          Q Okay.                                          15        Q So you thought It would be good for                   II
     16           A On my mother's life, my father's ,            16   business for the club to have a billboard?
     17   nobody.                                                 17        A No, they have a billboard.
     18          Q Okay.                                          18        Q   Okay.
     19          A I have never been to a deposition.             19         A It's free advertising. Why isn't this,
     20          Q Okay. You also mentioned there was an          20   the specials they have inside the club, which is thre~
     21   issue of cell phones on the floors. Can you tell me     21   specials, and I told him: "Why is that not on our
     22   what you mean by that?                                  22   billboard?"
     23          A It's very tacky, okay. They should be          23         Q The drInk specIals?
     24   in a secluded area, which I brought to Eddie, that      24         A The drink specials, the room specials
     25   cell phones, while on the floor dancing, talking.       25   the lap dance specials.
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      1              As far as the transaction, I didn't know        1         A    Rolando.
      2    about it because that wasn't my part. My part was         2         a    Okay.
      3    just to oversee.                                          3          A I know what these people want, Manny,
      4          a When you say, "the billboard", are you            4    Eddie, and, you know, that's respected.
      5   talking about the sign out front --                        5          a So you would l alk 10 Rolando about
      6           A The sign out front that says, "Stir              6    Improving the club?
      7   Crazy," --                                                 7          A Correct. When I was brought aboard,
      8          a Okay.                                             8    my - to improve the club. The only thing was my not -
      9           A - and then there's a little thing where          9   to do anything was with the girls for the rooms and
     10   you can do like a movie theater type of advertising.      10   whatever else. That was the only thing that was not
     11          a Right, okay.                                     11    my involvement.
     12           A And thaI's what I said, and then, you           12        a     So is it fair to say that when you were
     13   know...                                                   13   hired by Stir Crazy you were hired as a night manager
     14          a When you were working at the club, you           14   and to do promotions for the club?
     15   believe that at some point that the club was not          15          A A hundred percent.
     16   taking advantage of the sign that they had?               16        a     Okay.
     17           A A hundred percent.                              17          A I was the ...
     18          a Okay. And you told Eddie about this?             18         a Was your duty to promote the club
     19          A Yes, sir.                                        19   different than other night managers?
     20          a And what did Eddie say in response?              20          A My style was.
     21          A You have to get approval through the             21         a Okay.
     22   owner, Manny.                                             22          A Because they know it works. I have had
     23          a Can you think of any other instances,            23   road shows, Chippendales, we are the word famous,
     24   besides the four that we just talked about, where you     24   number one Chippendales. Chlppendolls, world famous,
     25   made a suggestion to Improve the club to Eddie and he     25   number one name in entertainment --

                                                       Page 34                                                         Page 36
      1    told you that he would have to get approval from          1        a      Okay.
      2    Manny?                                                    2           A - and I know it works. I have been
      3           A Any other ones?                                  3    doing it for 35 years, longer than anybody that's been
      4           a Yes, that you can think of.                      4    in this business, but I know it works. I brought
      5           A You know, he wasn't going to remodel,            5    it -. We need you, we need you, we need you. No
      6    because I brought up the remodel and I said, "Let's       6    problem.
      7    turn it into a hundred thousand dollar club. Let's        7           a So is it fair to say tbat the club
      8    put a straight bar like Playmates, get rid of all         8    sought you out?
      9    these tables and seating, clear out that bar."            9           A A hundred percent.
     10               "Oh, that will never happen."                 10           a Okay. Where were you working when -
     11               Okay, respect it.                             11           A I was at a grocery store in Hollywood.
     12          a Okay.                                            12           a Hold on, let me finish the question.
     13           A That's one thing I was direct told they         13           A I apologize.
     14   weren't going to do because they just remodeled, so ...   14        a      No, It's okay.
     15          a You had suggested that to Eddie?                 15             Where were you working at the time you
     16           A A hundred percent.                              16   heard or learned that Stir Crazy was looking to hire
     17          a And Eddie said he would talk to Manny            17   someone?
     18   about it?                                                 18           A Rolando had contacted me from a past
     19           A No, no. He just said that's not going           19   application that he saw and he had he.ard of me and     J
     20   to happen. Rolando, more or less, that's not going to     20   then he called me, I guess, clearing with Eddie. I      l
     21   happen, because they just remodeled the club.             21   don't know that's what exactly - and the owner was
     22          a Besides Eddie, were there any other              22   looking - Manny was looking forward to meeting me and
     23   employees or managers at the club to whom you said        23   I met him one time on the floor.
     24   something and in response they talked about needing to    24          a So you spoke to Rolando, Rolando called
     25   get approval from Manny?                                  25   you?
      -                                                                                                                           -

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         1             A     Called me, correct.                                      1             Q    Okay.
         2             Q     And he told you there was an opening at                  2             A     Okay. You know, alii knew, they said
         3       the club?                                                            3    Eddie had hired me, you know               can't tell you
         4             A There was an opening, they were lookihg                      4    anything I don't know, because I don't know.
         5       for a manager, and they wanted - they seen my resume             5             Q Okay. And you worked at nights?
         6       and all my experiences and they wanted me to come.               6             A Yes, sir.
         7                  And then I brought the different                      7             Q How many shifts did you work?
         8       styles - Because Rolando is pretty new. He was maybe             8                 A    Five shifts.
         9       a year in the business, maybe two, if that, and my               9                Q     Okay.
     10          experience of the 35 ears felt they wou ld help their           10                A     Tuesday through Saturday.
     11          improvement. And it was, you know, everything was               11                Q     Would you agree t hat the managers at the
     12          coming together, improvements of the club.                      12        club have supervisory authority?
     13
     14
                       Q    Okay.
                     A That was my job, to make the owner as
                                                                                 13
                                                                                 14       BY MR. BOBER:
                                                                                                        MR. MCDONALD : Objection to the form.
                                                                                                                                                             II
     15          much money as possible.                                         15           Q Do you not understand that? Do you want
     16                Q    Did you ever say anything - I'm sorry,               16        me to repeat the question?
     17          strike that.                                                    17                A     No. You mean supervise the club.
     18                     Did you ever say to Rolando something                18
                                                                                                                                                              I
                                                                                           itself?
     19          about the club and Rolando said that it would need to           19               Q      Let me ask It differently.
     20          be brought to Manny's attention?                                20                A     Okay.
     21                A    No.                                                  21                Q Is it one of the functions of the
     22               Q     Okay. Besides Eddie, are there any                   22       managers at Stir Crazy to supervise?
     23          other managers who worked at the club to whom you said          23                A     Yes.
     24          something and in response they stated words to the              24                Q     Okay. That's what they do?                          II
     25          effect that it would have to be brought back to Manny?          25                A     Yes . Like I said. we don't get tipped

                                                                       Page 38                                                                    P age 40
      1                A     Joe Pueg was the one. If it didn't get               1       out, we don't sell the rooms , we just, you know, make
      2          done correctly of changes wou ld happen.                         2       sure everything runs smoothly.                                      I

      3               Q How do you spell Joe's name?                              3             Q       Okay. Is there at least one manager on
      4                A     Joe, J-O-E.                                          4       every shift?
      5                Q     Yes.                                                 5            A Yes, sir. Sometimes two, because Agusto
     6                 A     P-U-E-G, I think it is. I don't know                 6       was there. Later, they were supposed to turn the
     7           exactly.                                                         7       shift over to me, but it never happened.
     8                 Q     Okay.                                                8              Q Okay. So there's at least one or two
     9                 A     He wasn't working at the club at the                 9       managers every shift?
    10           time, but he was instructed the one to train me, to             10             A       Yes, sir.
    11           meet for the interview, as it's in my cell phone.               11             Q       Are there ever three managers on a
    12                 Q     So Joe Pueg --                                      12
                                                                                 13
                                                                                          shift?                                                             II
    13                 A     Yes.                                                               A       Possibly. On the weekends, when we're
    14                 Q     - he was a manager at the club?                     14       packed busy, Rolando would be in there on a Friday and
    15                 A     No, no. He didn't -- He was -- Because              15       Saturday or Agusto would come in there later.
    16           he had health problems. I guess I was going into his            16            Q Okay.
    17           pOSition , I'm not sure exactly, but the owner, he was          17             A       Because it would get a little bit crazy
    18           representing the owner to help train me and bring me            18       busy, it got to be that way, busy> you know, as much
    19           aboard and make sure things got, you know. most                 19       as possible to help.
    20           cooperation as possible .                                       20             Q       earlier In the deposition you talked
    21                 Q     Do you know whether or not Manny had                21       about managers telling DJs what to play.
    22           anything to do with your being hired at the ch.,b or            22           A Yes.
    23           your not working at the club anymore?                           23             Q       Can you tell me what you meant by that?
    24                 A     I didn't hear that personally, but like             24            A To not play the hip-hop and keep the
    25           I said. I don't know.                                           25       techno and the energy in the club at all ti mes.
             -                                                                            --                   -
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      1         Q     What-                                                1         a    Okay.
      2           A Drink more Red Bull, drink more Red                2             A    And I think that's it, as far as I know.
      3    Bull, that's what was told to me, be.cause that's what      3             a    Do you know why -
      4    I did. Just do what you have to do to keep it going             4         A    I didn't -- I have no idea.
      5    with the business, and that's what I did.                   5             Q    Okay. Well, Jet me finish the question.
      6          Q So what was the managers' objection to              6             A    Okay, I'm sorry.
      7    hip-hop?                                                    7             a    Do you know why the OJs would e-mail
      8          A The girls. It wasn't the managers, it               8       Manny?
      9    was the girls that were complaining because -- Like,        9             A    I have no idea.
     10    you know, me, I feel if you're a worker, you're here       10             a    You just knew that they were doing it?
     11    to work, you know. You're not here to listen to the        11             A    I just know they were doing it --
     12    music, you're here to dance for the customers. That's      12            a     Okay.
     13    why we have the customers, because they enjoy the          13            A     -- because they all told me, they've got
     14    atmosphere.                                                14       to e-mail - because I had the list of the girls and I      II
     15          Q So were there ever Instances where the             15       need the list back to put the number of girls to
     16    managers heard the DJs playing music that they didn't      16       e-mail Manny. That's how I knew they were e-mailing
    17     like and told them to change it?                           17       Manny.
    18          A Oh, yeah.                                           18            a    Okay. Had you ever seen any of these
    19          Q Was that a frequent occurrence?                     19       e-mails that the OJs sent ?
    20          A Yeah, and then till they had the right              20            A No, sir.
    21    to do one hip-hop song and one techno; so eventually        21            a     But the OJs would ask you for the list
    22    they went back to where it was going right into the         22       of dancers who were working -
    23    iceberg, because they gave the girls back control of        23            A     Yes.
    24    the club and you can't do that when you're an owner of      24            a - in order to be able to send the
    25     a club, running a club. You are the owner and you run      25       e-mail?

                                                           Page 42                                                              Page 44
      1   the club and, you know, and ...                              1              A I had to get their Jist to make sure
     2          Q So is it fair to say during the time                 2       mine was accurate on how many girls , because som e
     3    that you were at the club --                                 3       girls come in later and they may not be on the list to
     4          A  Yes, sir.                                           4       collect the $5.00 and he has the complete list who
     5        Q -- the management did not want the                     5       went on rotation, Milch.
     6    dancers having decision-making authority over what was       6            a   What is the $5.oo?
     7    being played?                                                7             A The $5.00 per girl that they pay 0 ,
     B          A Correct.                                             8       house fee or...
     9         Q And the management was trying to take                 9            a    The dancers would pay -
    10    back that authority?                                        10             A Yeah, $10.00. Well, $5.00 to him, I
    11          A   Yes.                                              11       think $10.00 for the house fee.
    12         Q    Okay.                                             12            a     Okay.
    13          A   With my ideas and brought to Eddie and            13            A    Yeah, that's how it always was.
    14    Eddie would clear it with the owner.                        14            a    What was the difference between the five
    15         Q When you say, "the owner", you mean                  15       and $10.00?
    16    Manny?                                                      16             A Well , that's for the DJ. That was a
    17          A  Manny.                                             17       requirement.
    18            MR. MCDONALD: Objection to the form,                18             Q The dancers would pay the OJ $10.00 -
    19         move to strike.                                        19            A    Yeah, tip.
    20    BY MR. BOBER:                                               20            a .. per shift?
    21        Q You mentioned earlier that the DJs would              21            A    Yeah.
    22    send something to Manny each shift?                         22                 MR. MCDONALD: Objection to the form.
    23          AE-mail.                                              23            Didn't he just say $5.00?
    24         Q Okay. What was the e-mail?                           24               MR. BOBER : Are you objecting to the
    25         A Of the number of girls.                              25            question?
                                                                                                                                     -
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      1              MR. MCDONALD: I am, but you're not          1     their fee is per girl, and then he pays thel10use
      2          allowed to put words in his mouth.              2     $25.00 at the end of the night.
      3              MR. BOBER: All right. You can't --          3           a Okay. So at the end of a shlft-
      4              MR. MCDONALD : No, but it's just            4            A Yes.
      5         improper --                                      5         a ..      does··
            I
      6              MR. BOBER: Hold on a second.                6            A I've got a list. I've got to coliect
      7              MR. MCDONALD: I can't have you doing        7     $10.00 from every girl.
      8         that.                                            8           a Okay.
      9              MR. BOBER: You --                           9            A No ifs, ands or buts.
     10              MR. MCDONALD: First your client, now       10         a      Okay. So at the end of every shift each
     11         you. It's not right. You know it's not          11    dancer pays $10.00?
     12         right.                                          12           A Yes, sir, that's a house fee.
     13              MR. BOBER: All right. Look--               13         a      And the manager picks that money up?
     14              MR. MCDONALD: It's against the rules.      14           A Yes.
     15              MR. BOBER: -- I don't know what you're     15         a      Okay.
     16         talking about, but you need to cool it. Now     16           A That's a manager's department.
     17         you've gone overboard . I'm not trying to put   17         a      If you weren't working, It would be some
     18         words in anybody's mouth and you can object     18    other manager?
     19         50 times, but you cannot make speaking          19           A Correct, a hundred percent.
     20         objections. Just object to form of the          20         a     And then, does that $10.00 go to Mitch
     21         question and keep qu iet.                       21    for each of the dancers?
     22             MR. MCDONALD: You can -- I can make an      22           A No, that goes to the owner towards the
     23         objection --                                    23    night of the revenue collected; so that's one part of
     24             MR. BOBER: No, you can't.                   24    the revenue cash. Then you got other fees of
     25             MR. MCDONALD: -- and put on the record      25    revenue --

                                                    Pag e 46                                                     Page 48
     1         when your conduct is out of line -                1       Q Okay.
     2             MR. BOBER: No, you can't.                     2       A - the lap dances, the bar revenue.
     3             MR. MCDONALD: -- as it was just now.          3       Q So is it correct that the dancers pay
     4             MR. BOBER: No, you can't.                     4   something to the OJ for each shift?
     5             MR. MCDONALD: I definitely can.               5       A Yes, sir.
     6             MR. BOBER: You can file a motion with         6       Q Okay. Is that in addition to the
     7         the court and submit the transcript --            7   $10.001
     8             MR. MCDONALD: Just ask the question.          s         A   Yes.
     9             MR. BOBER: -- if you think I've done --       9         Q   Okay. So the dancers pay the house
                                                                                                                                  I
    10             MR. MCDONALD: Ask your next question.        10   $10.00?
    11             MR. BOBER: -- something wrong , but you      11         A   Yes, sir.
    12         need to knock it off.                            12         Q   And they pay some amount of money to the.
    13             MR. MCDONALD: Ask your next question.        13   OJ?
    14            THE WITNESS: I'm going to be clear.           14         A   A hundred percent.
    15    BY MR. BOBER :                                        15         Q  Okay. How much are they paying the OJ?
    16          a  Okay.                                        16           MR. MCDONALD: Objection to the form.
    17         A There's a house fee every girl pays, it        17        He just --
    18    doesn't matter.                                       18           THE WITNESS : That can range. It can be
    19          a  Who are they paying the house fee to?        19        $5.00, it can be whatever they agree that's
    20         A They're paying to the house, the club.         20       fair to him. I don't know because I don't
    21          a  How much is it?                              21        get involved in ...                                 I

    22         A Ten dollars.                                   22   BY MR. BOBER:
    23          a  Ten dollars.                                 23       Q Okay. So you're not sure?
    24         A Yeah . And the $5.00 is their agreement        24       A I'm not sure . I know --
    25    or whatever they're going to pay the OJ, whatever     25           MR. MCDONALD: Objection to the form,
                                                                                                                 -        -
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         1         mischaracterizes his testimony. He testified         1   theDJ-
         2         to $5.00, Peter. You know, you're not                2         A OJ.
         3         allowed to do what you're doing. You know            3         a - for each shift?
         4         you're not.                                          4         A Yes, sir.
         5             MR . BOBER ; I don't know --                     5         a   Okay. When Mitchell was wOrking, Mr.
         6             MA. MCDONALD: It's wrong and it's                6    Rosario was working at the club ••
         7         Improper.                                            7         A Yes, sir.
         8             MR . BOBER : Okay. I don't know what             8         a -    do you know what the dancers were
         9         you're talking about.                            9       paying him for each shift?
    10                 MR. MCDONALD: You're suggesting to him      10             A I have no idea what they're paying.
    11             answers that are - it's just improper.          11             a   Okay.
    12                 MR. BOBER : I don't know what you're        12             A But there IS a minimum fee that they
    13             talking about.                                  13       have to pay.
    14                   MR. MCDONALD: He answered the question,   14             a   Okay. What was the minimum?
    15              now you're going: You're not sure?             15             A I'm not sure on that.
    16                   MA. BOBER: Listen to me. Listen to me.    16             a   Okay. You mentioned that managers would
    17                   MR. MCDONALD: You know what you 're       17       tell DJs what to play?
    18             doing, Peter, come on.                          18             A Yes.
    19                   MR. BOBER: Can you sit there and just     19             a   Can you tell me If there were any other
                                                                                                                                          II
    20             object to the questions that you don't like.    20       things that managers would tell DJs to do?
    21                   MR. MCDONALD: Not if you're going to do   21             A They didn't want nobody in that OJ booth
    22             what you're doing.                              22       or he gets fired.
    23                  MR. BOBER: Listen, if you don't like       23             a   Would managers ever scold DJs for having
    24             It --                                           24       people in the booth?
    25                  MA. MCDONALD: If you ask proper            25             A He scolded him because I was in the OJ

                                                       Pag e 50                                                           Page 5 2

     1            questions --                                      1        booth and I was telling Mitch exactly what Eddie had
     2                 MR. BOBER: -- I don't know what to tell      2        wanted him to do on that shift and then he got on him.
                                                                                    Q Who is "he"?
                                                                                                                                          I
     3            you.                                              3
     4                MR. MCDONALD: -- but you 're not allowed      4               A Heriberto.
     5            to --                                             5               Q Okay.
     6                MR. BOBER : I don't know what to tell         6               A Yelled at him because I was In the OJ
     7            you.                                              7        booth.
     8                MR. MCDONALD : -- put words in the            8               Q And you were -
     9            witness's mouth .                                 9               A I'm like, "What do you think, we're
    10                MR. BOBER: I don't know what to tell         10       clowning around?" I'm here to upscale the club, to
    11            you except you can object if you don't like a    11        make the club better, and this is not a playground,
    12            question . That's all you get to do. That's      12        this is work.
    13            all you get to do.                               13               Q So managers would be upset if -
    14                MR. MCDONALD: You're wrong. You're           14               A I get pissed, because I know what works.
    15            wrong if your conduct is as it has been .        15               Q All right, but let me finish the
    16                MR. BOBER : Then you can file a motion       16       question.
    17            with the court if you think --                   17               A Okay. I'm sorry. It's just -- If I
    18                MR. MCDONALD: Well --                        18       think, it's just like, you know ...
    19                MR. BOBER : -- it has been improper,         19              Q No, that's okay. I understand. You
    20            okay.                                            20       were sensing what I was going to ask.
    21       BY MR. BOBER:                                         21                  So managers would scold DJs If there
    22            a    So in addition to the $10.00 that the       22       were people in the OJ booth who were not supposed to
    23       dancers pay the house -                               23       be there?
    24            A Correct.                                       24               A Nobody is to be in that OJ booth because
    25           a - they are paying some amount money to          25       he's worried about somebody spilling a drink. It's
                                                                                                                               -      -
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      1      understandable --                                              1    his eyes and ears for the daytime --
                                                                                                                                                I[
      2           a     When you say, "he" -                                2            a    Okay.
      3            A    Heriberto.                                          3            A    -- you know, so ...
         4        a     Okay.                                               4            aDo ou know whether there were ever any
      5            A His equipment or whatever, a drink would               5    instances where Mr. Rosario was disciplined for                 i

      6      get on there or whatever, but he didn't want nobody,           6   playlnjJ music that the management did n,Ql like?
      7      at all, or Mitch would be fired in that OJ booth.              7         A No, he never got diSCiplined tor the
      8           a     Have you ever heard of an Instance about            8   music. It was just that's the.way it was, tbis 's          e
      9      a manager - Let me strike that.                                9   way it was and this is the way it was going to work
     10                You mentioned before about different                10   and this is the way it was.
     11      genres of music, one being more preferable to the             11            a   Would you agree that your knowledge of
     12      other.                                                        12   the club only extends to the time period where you
     13            A    Yes, sir.                                          13   actually worked at the club?
     14           Q    They didn't like hip-hop and that they              14            A    I'm sorry. Repeat that?
     15      wanted something more high energy.                            15            a   Okay. You worked, you said, at the club
     16            A    Correct.                                           16   from August of 2012 to January-
     17           a    What about just actual songs, were there            17            A    Twenty-second.
     18      ever Instances where a manager would tell a OJ to play        18            Q - 2013?
     19      a specific song?                                              19            A    Twenty-second.
     20           A     Requests from a customer if they paid              20            a   January 22nd, 2013?
     21      money to have the song played, and that went into the         21            A   Yeah, that's ...
     22      fee thing for the house.                                      22         aWould you agree that you don't know what
     23           a    Okay. Have you ever heard of a manager              23   happened at the club prior to you actually working
     24      telling a DJ not to playa specific song or overheard          24   t here?
     25      a specHic song being played -                                 25            A    Sir, I have no idea.

                                                                 Page 54                                                              Page 56
      1            A    Yeah, yeah. The format was techno and               1        a       Okay_
      2      high energy.                                                   2         A      Alii know is I came in and it was a
      3            Q Okay.                                                  3   dead club. That's alii knew, it was slow, and they
      4            A There was not allowed to be, you know,                 4   wanted to get business.                                         II
      5      the format we were changing.                                   5        a   Would you agree you have no personal
      6           a     Okay. So the -                                      6   knowledge of what happened in the club in time periods
      7            A And if he couldn't get it done, he said,               7   after you left?
      8      "Do you know any other OJs?" That's what Heriberto             8         A I don't know.
      9      had told me. They wanted to fire Mitch.                        9        a       Okay.
    10            a     For playing music that he didn't like?             10        A       I don't care. All I know is when I was
    11             A Correct.                                              11   there, I did my best, and when you don't pay me,
    12            a     That Eddie didn't like?                            12   adios.
    13             A Not Eddie didn't like, that I suggested               13        Q Okay.
    14       would work.                                                   14        A That's what I did.
    15            a     Can you explain that?                              15        a So the answer to my question was:
    16             A Hip-hop, techno, high energy. Then I                  16   "Yes"?
    17       hear, what's hip-hop again.                                   17        A Yes.
    18            a     Okay.                                              18        a Okay.
    19             A Well, you know. ..                                    19        A I'm sorry.
    20             Q So is it fair to say that Eddie would                 20        a    No problem. No problem.
    21       get upset If he heard hlp-hop?                                21        A It's like, you know, an agreement that
    22             A Not -- Because he wasn't on our shift.                22   was told to me that they didn't follow through on
    23       Agusto was on our - he was on the day shift, you know,        23   myself.
    24       but he's wanting me to report everything that went on         24        a Okay.
    25       at nighttime to day shift that was going on. I was            25        A So that's just -- I am sorry about
                                                                                             -                                         -

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      1      elting off the...                                        1           Q - did the club have any rules for how
      2           Q No problem.                                       2    the dancers were supposed to go in the rotation for
      3           A I quadrupled your number and ...                 3     dancing?
      4           Q Okay. Hold on a second.                           4           A They had to go down the list as they
      5              Can you tell me what kind of equipment           5    came in.
      6    the club provided to the DJs so they could play music?     6          Q Okay.
      7           A They had sound equipment. They brought            7           A They had to check in with the OJ . They
      8    their own laptops in with their music.                    8     didn't want them to come in and sit in the back room.
      9           Q Was there a house computer that belonged         9     They wanted, as soon as they got in there, get dressed
     10    to Stir Crazy?                                           10     and come to Mitch, the OJ, put [hem on rotation and
     11           A Yeah, they had the whole sound booth            11     they worked the stages. As we got busier, he opened
    12     there.                                                   12    the back stage. We had two stages and they ran t\iIIo
    13            Q Okay.                                           13    girls on the main stage once we got busy. We had
    14            A He just plugged in his music with the           14    three girls at our busy, peak time, which is usually
    15     laptop, whatever they do, you know. I am not an          15    Thursday, Friday, Saturday.
    16     expert in that field, but I know that was ail Stir       16           Q So the club management had a rule that
    17     Crazy's equipment.                                       17    the dancers should be called in the order in which
    18            Q So Stir Crazy owned the sound booth?            18    they came Into work?                                       II
    19            A Yes, sir.                                       19           A Yes, sir.
    20            Q There's a house computer also that's            20           Q Who created that ruie, " you know?
    21    owned by StIr Crazy?                                      21           A I have no idea, you know. All I know,
    22               MR. MCDONALD: Objection to the form,           22    it's the ownership/management th at created that.
    23            asked and answered.                               23          a    Okay. Did you ever hear of Eddie
    24
    25
          BY MR. BOBER:
                  Q Is there a computer located In Stir
                                                                    24
                                                                    25
                                                                          talking about that rule?
                                                                                 A Yes.
                                                                                                                                     II
                                                       Page 58                                                        Page 60
     1    C~         that Is full of songs?                          1           Q Okay. Would It be a violation of that
     2                 MR. MCDONALD: Objection to the form --        2     rule for a OJ to ignore that rule and just put
     3                 THE WITNESS: That, I don't know.              3     whatever girls on the stage that they wanted in the
     4                 MR. MCDONALD: -- leading. Objection to        4     order that they wanted?
     5             the form , asked and answered.                    5               MR. MCDONALD: Objection to the form.
     6                 THE WITNESS: I just knew they had their       6              THE WITNESS: No. They just had a
     7             own laptop to ...                                 7           format to follow. They didn't follow -- They
     8    BY MR. BOBER:                                              8           didn't follow, they took it off on Mitch.
     9            Q Okay. Do you know whether or not the             9    BY MR. BOBER:
    10     club provided any music to the DJs?                      10           Q Okay.
                                                                                                                                     ,
    11            A No.                                             11           A Mitch would be fired if it wasn't
    12            Q You don't know?                                 12    followed.
    13            A I don't know about thaI.                        13           Q So Mitch had to follow the -
    14         a       Okay. Do you know whether or not the         14           A Oh, yeah .
    15     club paid out of Its own pocket any money to the DJs,    15           Q Hold on.
                                                                                                                                    II
    16     including Mr. Rosario?                                   16              Mitch was required to follow the club's
    17            A They paid him?                                  17    rotation for getting the dancers on the dance floor?
    18
    19
                 Q Correct. Did they?
                  A I don't think so, no.
                                                                    18
                                                                    19
                                                                                 A Yes, sir.
                                                                                Q In your experience working at Stir
                                                                                                                                    II
    20           Q Okay.                                            20    Crazy, do dancers sometimes not make a lot of money?
    21            A I never seen money transacted. I guess          21          A Yes.
    22    that's ...                                                22           MR. MCDONALD: Objection to the form.
    23         a   During the time that you worked at Stir          23           MR. BOBER: What is the problem?
    24    Crazy --                                                  24           MR. MCDONALD: Irs a vague, ambiguous               II
    25         A Yes.                                               25        question. What does that mean, "not make a
                                               -                                                                           -
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                                                                                                          1 6 (Pages 61 to 64)
                                                                 Page 61                                                           Page 63
                 1          lot of money"?                                       1              MR. MCDONALD: You can ask open-ended
                 2              MR. BOBER: Okay, that's good. Okay.              2           questions.
                 3   BY MR. BOBER:                                               3              MR. BOBER: I can ask whatever questions
                 4         Q Did you ever hear dancers at Stir Crazy             4           I want and you can object to whatever
                 5   complaIn-                                                   s           questions you want, get it? That's how it
                 6          A Oh , yes.                                          6           works.
                 7         Q Hold an.                                            7              Can you read back the last question?
                 8          A I'm sorry. I apologize.                            8              (The previous question was read back by
                 9         Q Okay. Hold on.                                      9              the Court Reporter as above reported.)
             10             A I'm sorry.                                     10      BY MR. BOBER:
)            11            Q Okay. Hold on.                                  11             Q You can answer If you know what
            12                 Did you ever hear dancers at Stir Crazy       12       I'm talking about.

~
            13       complain verbally that they were unhappy with the       13                 MR. MCDONALD: Additional grounds, but I
             14      amount of money that they had made on a shift?          14             wasn't state them, unless you want me to.

     (~;1   15              A Yes.                                           15                 MR. BOBER: No, that's okay.

    )r      16
            17
            18
                           Q Okay. And did they explain why they
                     were unhappy?
                            A Sometimes the music, sometimes just
                                                                             16
                                                                             17
                                                                             18
                                                                                                THE WITNESS: Yeah, they complain
                                                                                            regularly.
                                                                                     BY MR. BOBER:
            19       not - you know, they were lazy, a lot of them.         19              Q Based on your personal observations,
            20             Q Okay. So is It falr to say that some            20      were some customers who would come Into the club not
            21       dancers, no matter what kind of music was being        21       big tippers?
            22       played, would not make money because they were lazy    22                  MR. MCDONALD: Objection to the form.
            23       workers?                                               23                  THE WITNESS: A lot, no big tippers.
            24             A A hundred percent                              24       BY MR. BOBER:
            25             Q Based on your personal observation,            25              Q Were there customers who came into the

                                                                Page 62                                                           P age 6 4
             1       would dancers complaln about not making money on a      1        club that just didn't tip at all?
             2       shift because of a lack of customers coming Into the    2               A Yes.
             3       club on that shift?                                     3              Q Old you ever hear dancers complaining
             4                  MR. MCDONALD: Objection to the form,         4        about customers who didn't tip?
             5              leading. Ask him why and then you can --         5              A Oh, yeah.
             6                  MR. BOBER: Leading? It's not my              6              Q Okay.
             7              witness.                                         7              A They get mad sometimes and, you know,
             8                 MR. MCDONALD: It doesn't matter. You          8        out of context. It's like - It was not a great scene
             9              know you're not allowed to just lead a           9        in the dressing room sometimes.
            10              witness, put words in their mouth. it's         10              Q Based an your personal observations,
            11             wrong.                                           11        would you agree that even if M'rtch were to play great
            12                 Ask a question, open-ended -                 12        music for the customers, a dancer might be unhappy
            13                 MR. BOBER: Just object.                      13       with the amount of money that they made that night due
            14                 MR. MCDONALD: - who, what, where, when       14       to factors that were beyond Mitch's control?
            15             why.                                             15                 MR. MCDONALD: Objection to the form.
            16                 MR. BOBER: Don't tell me how to do it,       16                 THE WITNESS: A hundred percent.
            17             just object. No, don't tell me how to do it.     17       BY MR. BOBER:                                             I)
            18             You object.                                      18              Q Would you agree that the DJs who worked
            19                 MR. MCDONALD: This is --                     19       at Stir Crazy during the time that you worked there,
            20                 MR. BOBER: Just object.                      20       Including Mitch, had no control over the number of
            21                 MR. MCDONALD: -- not a party opponent.       21       customers coming Into the club?
            22                 MR. BOBER: Just object.                      22              A They never had control of the customers
            23
                                                                                                                                               II
                               MR. MCDONALD: This is a witness.             23       coming into the club. They can bring their friends,
            24                 MR. BOBER: You can't make speaking           24       you know. and tell our VIPs to come in, but...
            25            objections.                                       25             Q Old you agree with my -
                                                                                                                       -
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     1         A    Yes.                                            1          customers have their own special girls, have
     2             MR. MCDONALD: Objection to the form.             2          their own special - what they like about the       !I
     3   BY MR. BOBER:                                              3          club. Some like Eddie, some like Agusto, you
     4         Q Okay. You agreed with what I Just                  4          know. It's just -- The club has been there
     5   asked?                                                     5          for 25 years, so ...
     6          A Yes.                                              6   BY MR. BOBER:                                             II
     7         Q Okay.                                              7         Q What Is a VIP?
     8             MR. MCDONALD: He modified it, though.            8          A A VIP is, you know, someone that's been
     9   BY MR. BOBER:                                              9    a regular customer that is treated like a regular,
    10         Q Okay. What do you mean that - Did                 10    maybe give them a comp drink once in a while and treat
    11   Mitch bring in people like you were just describing?      11   them a little bit extra special because he's kept the
    12         A Yes, sir.                                         12    success of the club over the years, been a loyal
    13         Q How often did that happen?                        13   customer to the club.
                                                                                                                                   I
    14         A Weekend, mostly.                                  14         Q Okay. Do you know whether or not M'rtch
    15         Q Okay.                                             15   brought in VIPs?
    16         A When people are free.                             16         A Yes.
    17         Q Mitch would bring in how many people?             17         Q Do you know how many?
    18         A That, I don't know.                               18         A I have no idea.
    19         Q Okay.                                             19         Q During the time that you worked there,
    20         A You know.                                         20   was it more than five?
    21         Q You saw that there were people that               21         A Oh, yeah, way more than five, but I
    22   Mitch had brought in during the time that you worked      22   can't say the direct number.
    23   at the club?                                              23         Q Okay. Old you ever hear anyone at the
    24         A Yes, he brought business to the cluQ.             24   club ever talking about whether It was correct or not
    25         Q Would you agree that DJs, including               25   for DJs to be either classified as Independent

                                                      Page 6 6                                                         Page 68
     1    Mitch, were not involved in the ultimate profitability    1   contractors or employees?
     2    of the club?                                              2         A No. I just knew he was an employee of
     3              MR. MCDONALD: Objection to the form.            3   the club.                                                 II
     4              THE WITNESS: I don't understand that.           4         Q You knew what?                                \
     5   BY MR. BOBER:                                              5         A He was an employee of the club through
     6          Q Okay. Would you agree that the club               6   Heriberto, the general manager.
     7   management is responsible for ensuring that customers      7         Q You're saying you had a conversation
     8   come In to visit the club?                                 8   with Eddie?
     9          A Yeah, that's why we get fired and, you            9         A Yeah , I knew he was an employee of the
    10   know, promotion, calling people, making sure the girls    10   club because, you know, I didn't know about
    11   bring in their customers.                                 11   independent contractors or anything like that. You
    12         Q Okay. So management would make sure               12   know, the DJs, I don't get involved with their type of
    13   that the dancers would bring in customers?                13   salary structure. All I know is he had to pay a house
    14          A Yes.                                             14   fee.
    15         Q Okay. Was there a requirement that DJs            15        Q Why do you say that Eddie knew that/
    16   bring in customers?                                       16   Mitch was an employee?
    17          A No, there was not a requirement.                 17        A That's what was stated to me.
    18         Q Would you agree that If there was one             18        Q Who stated to you?
    19   group or two groups of individuals who were               19        A Eddie.
    20   responsible for bringing in customers to the club, It     20            Agusto, I didn't understand, and Rolando
    21   would be either the managers or the dancers?              21   never stated anything to me, he was so green to the
    22             MR. MCDONALD: Objection to the form.            22   business.
    23         Improper, incomplete question.                      23        Q When did Eddie state that to you?
    24             THE WITNESS: The promotion we did and           24        A In the beginning.
    25         whoever would have their VIPs come in. Their        25        Q The beginning of your employment?
                            -                             -                           -
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                                                                                                        18 (P ages 69 to 72)
                                                             Pag e 69                                                             Page 71
      1            A Yes. Yes.                                           1             a      Let me j ust finish.
      2            a    When you worked there, you were on               2                  I don't want to -
      3    payroll~                                                      3             A      Okay.
      4            A Yes, sir.                                           4             a     Why is it bad if the number of dancers
      5         a       You were paid a salary?                          5    at Stir Crazy is reduced?
      6            A Yes , sir.                                          6             A      House fee , the number of money that's
      7         a       Okay.                                            7    paid to the house.
      8            A No tips, no anything else.                          8          Q Anything else?
      9         a       Why, if you know, did Eddie tell you             9             A     The revenue that they produce, the
     10    that he knew that Mitch was an employee of the club?         10    customer that comes in to see them that brings -
     11            A That's what was said to me.                        11    spends their - even if it's $7.00, i-107.00         ou know,
    12          a    Okay.                                              12    they lose that, you know. If you lose a dollar, it's
    13           A That's as far as I knew. I didn't go                 13    just bad to lose that business.
    14     into depth. I didn't go any further.                         14            a If there are iess dancers at a club,
    15          a       He used the actual word "employee"?             15    will that translate Into less money being spent by
    16          A       Employee.                                       16    customers?
    17          a      Okay. Based on your knowledge, did you           17             A     Oh , yeah, then it goes around the
    18    ever know of any requirement that said that OJs               18    circuit, everybody talks . They only got seven girls
    19    working at Stir Crazy could not work for other clubs          19    tonight. Everybody talks in that business.
    20    at the same time?                                             20                  Would you go to Stir Crazy? How many
    21          A It was a conflict of interest. It's a                 21   girls? I'm not going there.
    22    basic knowledge of the business.                              22         Q CUstomers, you mean?
    23          a  Why is it a conflict of interest, if you             23         A Customers, yes.                                         II
    24    know?                                                         24        Q So you're saying that customers do not                   II
    25          A       That it just -- You know, you're                25   want to go to an exotic dance club if there are not a

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     1    bringing your customers to the opposition's business.          1   significant number of women working?
     2         a   Are you saying that If a OJ works at                  2         A Correct, a hundred percent.
     3    Stir Crazy and then works at another club, the dancers         3        a  We talked a little bit before about
     4    might leave?                                                   4   Manny Insua or Manny, as you knew him.
     5         A       Oh, yeah. That's one of the main                  5        A Yes, thars how I know him.
     6    reasons. I mean, irs just a basic knowledge of being           6        a Okay. Does Manny view the cameras that
     7    in the business. It's common, you know. It's club              7   are In the club?
     8    courtesy. Irs cold, you know.                                  8        A Oh, yes.
     9         a       Did you ever know - In the months that            9        a        Okay.
    10    you worked at Stir Crazy, did you ever know of a OJ           10        A         I was told this by Heriberto.
    11    that was disciplined for working at multiple clubs,           11        a        Where does he watch the cameras trom?
    12    Including StIr Crazy?                                         12                 MR. MCDONALD: Objection to the form.
    13           A That, I don't know.                                  13                 THE WITNESS: That. I don't know.
    14         a     Okay.                                              14   BY MR. BOBER:
    15           A I don't know. Like I said, I don't know              15        a        Okay. But did Eddie tell you that Manny
    16    the relations or how long or, you know. I know Jobe           16   could watch what was happenina in the club?
    17    very briefly in the daytime. Mitch I worked with all          17        A Oh, yes.
    18    the time, you know, and the ones that worked in the           18        a        Even if he wasn't present?
    19    daytime.                                                      19          A A hundred percent.                                     II
    20         a     If a OJ left a club and the dancers at             20         a Was there eyer a slluall.on where SQI11e
    21    that same club left with the OJ, would that be good or        21   manager saw something happening at the club through
    22    bad for Stir Crazy?                                           22   t he cameras and then reported It within the club,
    23          A That's bad for everybody.                             23   Itself?
    24         a    Why is it bad if -                                  24         A       Oh, yeah. Agusto, all the time, he
    25          A Because dancers are --                                25   would be watching from his home, because he would call
                                                                                                                            - -
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      1    me up.                                                    1         A During the daytime. Kathy and her
      2             Eddie would watch the cameras, he called         2   cousin, one of the dancers. I don't know -- Like I
      3    me up on the phone. "What are you guys doing in the       3   said, I don't know. My shift was this and that's when
      4    OJ booth? Get out of the OJ booth," you know --           4   I went on my shift. I didn't care what went on in the
      5         Q The manager -                                      5   daytime, it was none of my business.
      6          A - or Mitch would be fired, you know.              6         Q Okay.
      7         Q Agusto was a manager?                              7         A If they wanted me to take daytime, they
      8          A Ves, sir.                                         8   would have appointed me daytime, but they appointed me
      9         Q Okay. And he was a night manager?                  9   at night.
     10         A Night manager, yes, sir.                          10         Q During the time of day that the club is
     11         Q And he would watch the cameras from his           11   open. are there two shifts?
    12     home?                                                    12         A Two shifts, yes.
    13          A Yes . The bartenders would be in the              13         Q Okay. What are the times of the two
    14    corner conferring, why aren't you serving, you know,      14   shifts?
    15     Manny's customers? Vou know, what are they dOing over    15         A Daytime, I think, opens at 12 or 11, I'm
    16    there?                                                    16   not a hundred percent sure.
    17             Oh, but we don't work with Heriberto, we         17        Q    Okay.
    18    work with Agusto.                                         18         A And It goes to 8:00, and then the shift
    19             Okay, excuse me. I thought I was going           19   change happens with 8:00 to five in the morning.
    20    to be taking the shift, okay. So much for that.           20         Q Do you know whether or not DJs had to
    21             I said, "Agusto, how would you like it           21   arrive before their shift started to get set up?
    22    run?" Because they were supposed to turn the whole        22         A They all had to arrive before shift, I
    23    thing over to me and I never got it turned over           23   was stated that.
    24    because I don't know the ...                              24        Q Okay. Who stated it?
    25          Q Okay. Do you know - Strike that.                  25         A They should be ready to go.

                                                        Page 74                                                       Page 76
     1               Have you ever worked a day shift at Stir        1              Eddie.
     2     Crazy?                                                    2         Q     Okay.
     3           A No. Not at all.                                   3         A They had to be ready to go at 8:00 when
     4           Q Have you ever spoke to -                          4   their shifted started.
     5           A I was going to be the daytime manager.            5         Q Do you know whether or not the shift
     6     I don't know how that all -- That was what they were      6   actually started at night at 8:30 but they were
     7     bringing me in for, the daytime, because I guess Ricky    7   required to come in before that?
     8     was going to leave and then Ricky never left; so they     8         A Veah, early.
     9     put me at night.                                          9             I know my shift started at eight, you
    10           Q Have you ever had a conversation with            10   know. I know they had to be there early to set up and
    11     anyone who worked at the club about the type of          11   ready to go for the switch.
    12     clientele that was coming in on the day shift?           12         Q Do you know - Strike that.
    13           A I have no idea.                                  13             Have you ever heard of a woman named
    14           Q Okay.                                            14   Laura Insua?
    15           A Alii know, it was slow when I came in,           15         A No, sir.
    16    you know, 8:00 I came in. I don't know what went on       16         Q Okay. Do you know whether or not
    17    in the daytime, you know. I had no knowledge of, you      17   Manny's mother ever did any work at the club?
    18    know...                                                   18         A I don't know Manny's mother. I never
    19          Q Do you have any knowledge about whether           19   met the woman.
    20    or not there were differences In the type of clientele    20         Q Okay.
    21    that would come during the day shift verses night         21         A I didn't know - The mother never came
    22    shift?                                                    22   up.
    23          A I don't know. The girls said it was               23         Q Okay. Based on your personal
    24    dead, that's all I knew, you know.                        24   observations. did the club have a - Strike that.
    25          Q Dead when?                                        25            Based on your personal observation. did
                                                                                   -                                             -
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     1       the club management have a distaste of slow music            1   and he would settle it. He would have the final say.
     2       being played -                                               2        Q Including -
     3                MR. MCDONALD : Objection to the form.               3         A Whether they get tired or whether they
     4   BY MR. BOBER:                                                    4   don't, whether they're allowed to work, whether
     5       Q -- at the club?                                            5   they're not allowed to work.
     6           MR. MCDONALD: Vague.                                     6         Q So you're saying that if a dancer had a
     7                 THE WITNESS: Well, as I said earlier,              7   problem with a OJ, the final decision-maker would be
     8              they wanted high energy.                              8   Eddie?
     9   BY MR. BOBER:                                                    9         A A hundred percent.
    10          Q Did you understand what I meant when I                 10         Q Eddie was the general manager, correct?
    11   said, "slow music"?                                             11         A General manager. General daytime
    12          A Well, like I said , hip-hop , all that                 12    manager.
    13   stuff is slow to me, you know. I know techno, I kn.o            13            Agusto was nighttime general manager.
    14   what works and I know what's energy. Anything other             14         Q Was Eddie involved in seHing the
    15   than that, it's a dead club.                                    15    schedules for the people working at the club?
    16          Q By slow - I wanted to clarify because                  16         A Yes --
    17   there might be some ambiguity. By slow, I am talking            17            MR. MCDONALD: Objection to the form.
    18   about the tempo of the music. Did the club have a               18            THE WITNESS: -- for daytime, and then
    19   distaste for music with a slow tempo?                           19         Rolando made the schedule at night
    20          A Yes, because it killed the club.                       20   BY MR. BOBER:
    21          Q Okay.                                                  21        Q Okay. Do you know if Rolando was a
    22          A It killed the energy, people start                     22   night manager?
    23   leaving. They want to be where it's a fun , party               23         A Night manager.
    24   atmosphere and that's what I created.                           24        Q Do you know whether or not Eddie saw the
    25          Q Okay. Were there ever instances where a                25   night schedule?

                                                             Pag e 7 8                                                     Page 80
     1   dancer would have a dispute with a OJ about something?           1            MR. MCDONALD: Objection to the form .
     2                MR. MCDONALD : Objection to the form.               2            THE WITNESS: Oh, yes. Everything had
     3                MR. BOBER: What is the objection?                   3        to be cleared through Eddie.
     4                MR. MCDONALD: It's vague.                           4   BY MR. BOBER:
     5                MR. BOBER: All right, that's fine.                  5       Q Okay. Do you know whether or not the
     6   BY MR. BOBER:                                                    6   club ever had staff meetings?
     7           Q    You can answer.                                     7        A   All the time. Once a week, Monday,
     8           A    Mitch was going to get fired because of             8   before shift.
     9   one girl. All the years he put in --                             9        Q Were t he OJs required to go to those
    10          Q     Okay.                                              10   weekly meetings?
    11           A -- one girl said one thing and it was,                11        A   The management meeting, there was a DJ
    12   are you kidding?                                                12   meeting and there was a staff meeting.
    13        Q What is the Incident you're talking                      13        Q   Okay. Let's talk about the different
    14   about?                                                          14   meetings.
    15        A About rotation. She sat there with a                     15          There's a manager's meeting?
    16   customer and they're required to get on stage and               16        A Yes, sl r.
    17   Agusto didn't want to hear nothing. They want to make           17        Q Do OJs go to that meeting?
    18   sure they're on that stage or it's his heiney.                  18        A No.
    19         Q Okay. Have managers been asked to                       19        Q That's once per week, that management
    20   settle arguments between OJs and the dancers based on           20   meeting?
    21   yourpersonalknowiedge?                                          21        A Yes, sir, at tbe beginning of the week.
    22           A    We had to bring everything back to                 22        Q Would Eddie attend that meeting?
    23   Eddie.                                                          23        A Eddie would be the leader of, and then           "

    24          Q     Okay.                                              24   Agusto - Rolando would translate to Agusto anything     ~
    25          A     He wanted to know about every incident             25   being said by Eddie or anybody had anything to say,
         -
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